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 6     FIGS, Inc.
 7                         UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9
       FIGS, INC., a Delaware Corporation, ) CASE NO.:2:24-cv-2155
10                                         )
                          Plaintiff,       ) COMPLAINT FOR DAMAGES AND
11                                         ) EQUITABLE RELIEF:
                                           )
12                  v.                     ) 1. TRADE DRESS INFRINGEMENT
                                           )    UNDER THE LANHAM ACT
13                                         )    (CLAIMS 1-3)
       LAGO APPAREL, LLC, an Oregon        )
14     Limited Liability Company; and DOES ) 2. TRADE DRESS INFRINGEMENT
       1-10, inclusive,                    )    UNDER CALIFORNIA COMMON
15                                         )    LAW (CLAIMS 4-6)
                          Defendant.       )
16                                         ) 3. UNFAIR COMPETITION IN
                                           )    VIOLATION OF CAL. BUS. &
17                                         )    PROF. CODE § 17200 et seq.
                                           )    (CLAIM 7)
18                                         )
                                           ) 4. UNFAIR COMPETITION UNDER
19                                         )    CALIFORNIA COMMON LAW
                                           )    (CLAIM 8)
20                                         )
                                           ) 5. PATENT INFRINGEMENT
21                                         )    (CLAIMS 9-11)
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22                                         )
                                           ) JURY TRIAL DEMANDED
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                         COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1            Plaintiff FIGS, Inc. (“FIGS” or “Plaintiff”), through its undersigned counsel,
 2     hereby file this Original Complaint against Defendant Lago Apparel, LLC (“Lago
 3     Scrubs”) and DOES 1-10 (collectively “Defendants”) requesting damages and
 4     injunctive relief, and upon personal knowledge as to their own acts and circumstances,
 5     alleges as follows:
 6                                 JURISDICTION AND VENUE
 7            1.    This action arises out of Defendant’s complicit and unlawful acts
 8     constituting trade dress infringement and unfair competition in violation of the Lanham
 9     Trademark Act of 1946, 15 U.S.C. § 1051, et seq. (the “Lanham Act”), patent
10     infringement arising under the patent laws of the United States, 35 U.S.C. § 1, et seq.
11     and violations of statutory and common law of the state of California.
12            2.    This Court has subject matter jurisdiction over the federal claims asserted
13     in this action under 28 U.S.C. §§ 1331 and 1338(a) and supplemental jurisdiction over
14     Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a) because they are so related
15     to the federal claims that they form part of the same case or controversy.
16            3.    This Court has personal jurisdiction over Defendant because Defendant
17     conducts continuous and systematic business in this district, placed infringing products
18     in the stream of commerce directed to residents of this district, derived commercial
19     benefits from the sale of infringing products and caused injuries to Plaintiff within the
20     Central District of California.
21            4.    Venue is proper under 28 U.S.C. §§ 1391(b)-(c) because a substantial part
22     of the events or omissions giving rise to the claims alleged occurred in this judicial
23     district and Plaintiff is located and has been injured in this judicial district, and 28
24     U.S.C. § 1400(b) because Defendant committed acts of infringement in this judicial
25     district.
26                                         THE PARTIES
27            5.    Plaintiff FIGS, Inc. is a corporation organized and existing under the laws
28     of the state of Delaware with an office and principal place of business located in Santa

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                             COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1     Monica, California.
 2           6.     Upon information and belief, Defendant Lago Apparel, LLC is a limited
 3     liability company organized and existing under the laws of the state of Oregon with an
 4     office and principal place of business located at 1433 SE Malden Street, Portland,
 5     Oregon 97202.
 6           7.     FIGS is informed and believes that, together with Lago Scrubs, other
 7     individuals and entities currently named as DOES 1-10 may also be responsible in one
 8     manner or another for the wrongs alleged herein, in that at all relevant times, each one
 9     (including Lago Scrubs) was the agent and servant of the others and acting within the
10     course and scope of said agency and employment. These other individuals and entities
11     are sued under fictitious names DOES 1-10 because their true names and capacities are
12     currently unknown to FIGS. FIGS will seek leave to amend this Complaint when the
13     true names and capacities of DOES 1-10 are ascertained.
14                 ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
15           A.     The FIGS® Brand
16           8.     FIGS is a founder-led, direct-to-consumer healthcare apparel and lifestyle
17     brand company. Since its beginnings, FIGS has quickly grown into a highly
18     recognizable designer and retailer of premium scrub wear, and other non-scrub
19     offerings, such as lab coats, underscrubs, outerwear, activewear, loungewear,
20     compression socks and footwear.
21           9.     The journey of FIGS began in 2013 after FIGS’ co-founder, Heather
22     Hasson, grew disillusioned with the substandard apparel options available to healthcare
23     professionals, including uncomfortable and unflattering scrubs that made working
24     lengthy shifts under difficult circumstances even more challenging and strenuous.
25           10.    With an understanding of design, fashion, and fabric technology, FIGS
26     modernized and revolutionized medical apparel by offering fashion-forward
27     alternatives that featured purposeful designs. The outcome was a major disruption to
28     the existing industry, and a fashion and innovation leap from conventional healthcare

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                             COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1     apparel that was notoriously baggy, boxy, and lacking in design. The advancements in
 2     design, comfort, and style that FIGS blended and infused into the medical apparel
 3     industry are unprecedented.
 4            11.     FIGS’ innovative approach did not stop with its products. It also disrupted
 5     the industry’s historical distribution model, which required healthcare professionals to
 6     physically travel to brick-and-mortar stores to purchase their uniforms. FIGS has built
 7     the largest online direct-to-consumer platform in healthcare apparel, leading the
 8     industry in the shift to digital.
 9            12.     As a result of its many innovations and disruption of a centuries-old
10     industry, FIGS has enjoyed remarkable success in the healthcare apparel space. Every
11     year between its founding in 2013 and 2020, FIGS grew its net revenues by triple digit
12     percentages, and it reached net revenues of approximately $545 million in 2023. In May
13     2021, FIGS went public through an initial public offering with a multi-billion-dollar
14     valuation; and as of December 31, 2023, FIGS’ active customer base had grown to be
15     2.6 million.
16            13.     FIGS’ immense growth is attributable to its success in disrupting the
17     medical apparel industry in three primary ways: (1) it branded a previously unbranded
18     industry; (2) it redefined what scrubs are by creating products that feature an unmatched
19     combination of design, comfort and style, all at an affordable price; and (3) through
20     direct to customer relationships, it built a community and lifestyle around a profession,
21     revolutionizing the large and fragmented healthcare apparel market and becoming the
22     industry’s category-defining healthcare apparel and lifestyle brand.
23            14.     14.   Today, FIGS’ scrub wear is widely available and sold to consumers
24     in every state, including California, through FIGS’ website wearfigs.com, and through
25     FIGS’ Mobile App.
26            B.      Defendant’s Infringing Activities
27            15.     This lawsuit arises from Defendant’s design, manufacture, importation,
28     distribution, advertisement, marketing, offering for sale, and sale in the U.S. of certain

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 1     scrub wear that infringe upon FIGS’ “Casma Scrub Top Trade Dress”; “Catarina Scrub
 2     Top Trade Dress”; “Kade Cargo Scrub Pant Trade Dress”; U.S. Pat. No. D948, 170
 3     (“’170 Patent”); U.S. Pat. No. D950,195 (“’195 Patent”); and U.S. Pat. No. D950,890
 4     (“’890 Patent”) (collectively, the “Accused Products”).
 5            16.    Upon information and belief, Defendant Lago Scrubs is engaged in the
 6     retail sale of scrub wear and accessories under its Lago brand on the internet at Lago
 7     Scrubs’ website lagowear.com that is accessible to customers nationwide, including to
 8     those within this judicial district.
 9            17.    Upon information and belief, Defendant Lago Scrubs is a competitor of
10     FIGS and introduced the Accused Products into the stream of commerce in an effort to
11     exploit FIGS’ goodwill and the reputation of the FIGS Casma Scrub Top, Catarina
12     Scrub Top, and Kade Cargo Scrub Pant.
13            18.    FIGS has not granted Defendant a license to practice nor given Defendant
14     any form of permission to use FIGS’ trademarks, trade dresses, or patents, including the
15     Casma Scrub Top Trade Dress; Catarina Scrub Top Trade Dress; Kade Cargo Scrub
16     Pant Trade Dress; ’170 Patent; ’195 Patent; and/or ’890 Patent.
17                      i. Infringement of the Casma Scrub Top Trade Dress and the
18                          ’170 Patent
19            19.    Upon information and belief, Defendant imported into the U.S., advertised,
20     marketed, offered for sale, and/or sold at least the Accused Products identified by name
21     as Lago brand “Crescent” scrub top through its website (lagowear.com) to consumers
22     nationwide, including consumers located within this judicial district. Exemplars of the
23     Accused Products compared to FIGS Casma Scrub Top, the embodiment of the Casma
24     Scrub Top Trade Dress, and the ’170 Patent are below:
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                             COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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         Defendant’s Lago brand      FIGS Casma Scrub Top         ’170 Patent (Fig. 1)
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         Crescent Scrub Top
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                      ii. Infringement of the Catarina Scrub Top Trade Dress and the
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                          ’195 Patent
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             20.    Upon information and belief, Defendant imported into the U.S., advertised,
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       marketed, offered for sale, and/or sold at least the Accused Products identified by name
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       as Lago brand “Diamond” scrub top through its website (lagowear.com) to consumers
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       nationwide, including consumers located within this judicial district. Exemplars of the
16
       Accused Products compared to FIGS Catarina Scrub Top, the embodiment of the
17
       Catarina Scrub Top Trade Dress, and the ’195 Patent are below:
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26       Defendant’s Lago brand      FIGS Catarina Scrub Top      ’195 Patent (Fig. 1)
27       Diamond Scrub Top
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                           COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1                    iii. Infringement of the Kade Cargo Scrub Pant Trade Dress and
 2                         the ’890 Patent
 3           21.    Upon information and belief, Defendant imported into the U.S., advertised,
 4     marketed, offered for sale, and/or sold at least the Accused Products identified by name
 5     as Lago brand “Paulina” scrub pant and the “Trillium” scrub pant through its website
 6     (lagowear.com) to consumers nationwide, including consumers located within this
 7     judicial district. Exemplars of the Accused Products compared to FIGS Kade Cargo
 8     Scrub Pant, the embodiment of the Kade Cargo Scrub Pant Trade Dress, and the ’890
 9     Patent are below:
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19       Defendant’s Lago brand      FIGS Kade Cargo Scrub        ’890 Patent (Fig. 1)

20       Paulina Scrub Pant          Pant

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         Defendant’s Lago brand       FIGS Kade Cargo Scrub         ’890 Patent (Fig. 1)
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         Trillium Scrub Pant          Pant
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             22.     Upon information and belief, Defendant has sold additional products that
14
       appear to infringe upon FIGS’ other trade dresses and/or design patents. FIGS will seek
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       leave to amend as additional information becomes available through discovery.
16
             23.     Upon information and belief, Defendant has acted in bad faith and
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       Defendant’s unlawful acts have misled and confused, and were intended to cause
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       confusion, or to cause mistake, or to deceive consumers as to the affiliation, connection,
19
       or association of the Accused Products with FIGS, and/or the origin, sponsorship, or
20
       approval of the Accused Products by FIGS.
21
                                   FIRST CLAIM FOR RELIEF
22
                   Trade Dress Infringement of the Casma Scrub Top Trade Dress
23
                                         15 U.S.C. § 1125(a)
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             24.     FIGS incorporates by reference each and every one of the preceding
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       paragraphs as though fully set forth herein.
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             25.     Since its introduction, the FIGS Casma Scrub Top has been marketed
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       featuring the design elements protected under the Casma Scrub Top Trade Dress. The
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 1     Casma Scrub Top Trade Dress is unique and inherently distinctive, and comprised of
 2     the following elements:
 3                 a.     A scrub top with a forward shoulder seam;
 4                 b.     A darted back;
 5                 c.     V-shaped neckband with single needle edge stitch detail;
 6                 d.     Two angled welt drop pockets positioned at the waist on the
 7                        lateral and medial side of the top; and
 8                 e.     Slits on the lateral and medial side seams.
 9           26.   The Casma Scrub Top Trade Dress itself, which is a composite of the
10     above-referenced features, is non-functional, visually distinctive, and unique in the
11     scrub wear industry. Indeed, the USPTO issued a design patent, U.S. Pat. No. D948,170,
12     for the Casma Scrub Top. Examples of its distinctive appearance are shown in the
13     photographs below:
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                            COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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12         27.    The design of the Casma Scrub Top Trade Dress is neither essential to its
13   use or purpose, nor does it affect the cost or quality of the top. There are numerous other
14   designs available that are equally feasible and efficient, none of which necessitate
15   copying or imitating the Casma Scrub Top Trade Dress. The combination of features
16   comprising the Casma Scrub Top Trade Dress as a whole provides no cost advantages
17   to the manufacturer or utilitarian advantages to the consumer. These features, in
18   combination, serve only to render the FIGS Casma Scrub Top, the embodiment of the
19   Casma Scrub Top Trade Dress, as a distinct product originating solely from FIGS.
20         28.    The FIGS Casma Scrub Top, the embodiment of the Casma Scrub Top
21   Trade Dress, is well-recognized and commercially successful, having been featured in
22   many of FIGS’ advertising and promotional materials as well as in various trade
23   publications. The FIGS Casma Scrub Top has received a large volume of unsolicited
24   media attention.
25         29.    FIGS has spent substantial time, effort, and money in designing,
26   developing, advertising, promoting, and marketing the FIGS brand and its line of scrub
27   wear embodying the Casma Scrub Top Trade Dress. FIGS spends millions of dollars
28   annually on advertising of FIGS products, including scrub wear embodying the Casma

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 1   Scrub Top Trade Dress.
 2           30.   Due to its long use, extensive sales, and significant advertising and
 3   promotional activities, the Casma Scrub Top Trade Dress has achieved widespread
 4   acceptance and recognition among the consuming public and trade throughout the
 5   United States. Indeed, FIGS has sold millions of dollars’ worth of the FIGS Casma
 6   Scrub Top, the embodiment of the Casma Scrub Top Trade Dress. Accordingly, the
 7   Casma Scrub Top Trade Dress has achieved a high degree of consumer recognition and
 8   secondary meaning, which serves to identify FIGS as the exclusive source of footwear
 9   featuring said trade dress.
10           31.   Upon information and belief, Defendant is a competitor of FIGS and
11   Defendant introduced the Accused Product, including the Lago brand Crescent scrub
12   top, into the stream of commerce in an effort to exploit FIGS’ goodwill and the
13   reputation of the FIGS Casma Scrub Top.
14           32.   The Accused Product, including the Lago brand Crescent scrub top,
15   manufactured, imported, distributed, advertised, offered for sale, and/or sold by
16   Defendant bears designs identical, substantially indistinguishable, or confusingly
17   similar to the Casma Scrub Top Trade Dress, causing a likelihood of confusion as to the
18   source, sponsorship or approval by FIGS of the Accused Product, including the Lago
19   brand Crescent scrub top.
20           33.   Defendant’s use of the Casma Scrub Top Trade Dress is without FIGS’
21   permission or authorization, and in total disregard of FIGS’ rights to control its
22   intellectual property. There are numerous other designs in the scrub wear industry, none
23   of which necessitate copying or imitating the Casma Scrub Top Trade Dress.
24           34.   Defendant’s use of the Casma Scrub Top Trade Dress is likely to lead to
25   and result in confusion, mistake, or deception, and is likely to cause the public to believe
26   that Accused Product, including the Lago brand Crescent scrub top, is produced,
27   sponsored, authorized, or licensed by or are otherwise connected or affiliated with
28   FIGS.

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 1          35.    Given the widespread popularity and recognition of the FIGS line of
 2   products and the Casma Scrub Top Trade Dress, FIGS avers and hereon alleges that
 3   Defendant had knowledge of FIGS’ rights to the Casma Scrub Top Trade Dress and has
 4   intentionally utilized the Casma Scrub Top Trade Dress on its own product for
 5   Defendant’s own benefit and/or in an effort to pass them off as if they originated, are
 6   associated with, are affiliated with, are sponsored by, are authorized by, and/or are
 7   approved by FIGS.
 8          36.    As a direct and proximate result of the foregoing acts, FIGS has suffered
 9   and will continue to suffer significant injuries in an amount to be determined at trial.
10   FIGS is entitled to recover all damages, including attorneys’ fees, that it has sustained
11   and will sustain, and all gains, profits and advantages obtained by Defendant as a result
12   of its infringing acts.
13          37.    Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
14   there is no adequate remedy at law that can fully compensate FIGS for the harm caused
15   by Defendant’s infringement, which is ongoing. Accordingly, FIGS is entitled to
16   injunctive relief prohibiting Defendant from continuing to infringe the Casma Scrub
17   Top Trade Dress, or any designs identical, substantially indistinguishable, or
18   confusingly similar thereto.
19                              SECOND CLAIM FOR RELIEF
20            Trade Dress Infringement of the Catarina Scrub Top Trade Dress
21                                     15 U.S.C. § 1125(a)
22          38.    FIGS incorporates by reference each and every one of the preceding
23   paragraphs as though fully set forth herein.
24          39.    Since its introduction, the FIGS Catarina Scrub Top has been marketed
25   featuring the design elements protected under the Catarina Scrub Top Trade Dress. The
26   Catarina Scrub Top Trade Dress is unique and inherently distinctive, and comprised of
27   the following elements:
28                 a.     A scrub top with a forward shoulder seam;

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 1              b.     Cross over V-shaped neckband with single needle edge stitch
 2                     detail;
 3              c.     A darted back;
 4              d.     Chest pocket with notched corners on the bottom of chest pocket;
 5              e.     Vertical bar tacks on the chest pocket; and
 6              f.     Slits on the lateral and medial side seams.
 7        40.   The Catarina Scrub Top Trade Dress itself, which is a composite of the
 8   above-referenced features, is non-functional, visually distinctive and unique in the
 9   scrub wear industry. Indeed, the USPTO issued a design patent, U.S. Pat. No.
10   D950,195, for the Catarina Scrub Top. Examples of its distinctive appearance are
11   shown in the photographs below:
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           41.    The design of the Catarina Scrub Top Trade Dress is neither essential to
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     its use or purpose, nor does it affect the cost or quality of the top. There are numerous
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     other designs available that are equally feasible and efficient, none of which necessitate
26
     copying or imitating the Catarina Scrub Top Trade Dress. The combination of features
27
     comprising the Catarina Scrub Top Trade Dress as a whole provides no cost advantages
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 1   to the manufacturer or utilitarian advantages to the consumer. These features, in
 2   combination, serve only to render the FIGS Catarina Scrub Top, the embodiment of the
 3   Catarina Scrub Top Trade Dress, as a distinct product originating solely from FIGS.
 4         42.    The FIGS Catarina Scrub Top, the embodiment of the Catarina Scrub Top
 5   Trade Dress, is well-recognized and commercially successful, having been featured in
 6   many of FIGS’ advertising and promotional materials as well as in various trade
 7   publications. The FIGS Catarina Scrub Top has received a large volume of unsolicited
 8   media attention.
 9         43.    FIGS has spent substantial time, effort, and money in designing,
10   developing, advertising, promoting, and marketing the FIGS brand and its line of scrub
11   wear embodying the Catarina Scrub Top Trade Dress. FIGS spends millions of dollars
12   annually on advertising of FIGS products, including scrub wear embodying the Catarina
13   Scrub Top Trade Dress.
14         44.    Due to its long use, extensive sales, and significant advertising and
15   promotional activities, the Catarina Scrub Top Trade Dress has achieved widespread
16   acceptance and recognition among the consuming public and trade throughout the
17   United States. Indeed, FIGS has sold millions of dollars’ worth of the FIGS Catarina
18   Scrub Top, the embodiment of the Catarina Scrub Top Trade Dress. Accordingly, the
19   Catarina Scrub Top Trade Dress has achieved a high degree of consumer recognition
20   and secondary meaning, which serves to identify FIGS as the exclusive source of
21   footwear featuring said trade dress.
22         45.    Upon information and belief, Defendant is a competitor of FIGS and
23   Defendant introduced the Accused Product, including the Lago brand Diamond scrub
24   top, into the stream of commerce in an effort to exploit FIGS’ goodwill and the
25   reputation of the FIGS Catarina Scrub Top.
26         46.    The Accused Product, including the Lago brand Diamond scrub top,
27   manufactured, imported, distributed, advertised, offered for sale, and/or sold by
28   Defendant bears designs identical, substantially indistinguishable, or confusingly

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 1   similar to the Catarina Scrub Top Trade Dress, causing a likelihood of confusion as to
 2   the source, sponsorship or approval by FIGS of the Accused Product, including the Lago
 3   brand Diamond scrub top.
 4           47.   Defendant’s use of the Catarina Scrub Top Trade Dress is without FIGS’
 5   permission or authorization, and in total disregard of FIGS’ rights to control its
 6   intellectual property. There are numerous other designs in the scrub wear industry, none
 7   of which necessitate copying or imitating the Catarina Scrub Top Trade Dress.
 8           48.   Defendant’s use of the Catarina Scrub Top Trade Dress is likely to lead to
 9   and result in confusion, mistake, or deception, and is likely to cause the public to believe
10   that Accused Product, including the Lago brand Diamond scrub top, is produced,
11   sponsored, authorized, or licensed by or are otherwise connected or affiliated with
12   FIGS.
13           49.   Given the widespread popularity and recognition of the FIGS line of
14   products and the Catarina Scrub Top Trade Dress, FIGS avers and hereon alleges that
15   Defendant had knowledge of FIGS’ rights to the Catarina Scrub Top Trade Dress and
16   has intentionally utilized the Catarina Scrub Top Trade Dress on its own product for
17   Defendant’s own benefit and/or in an effort to pass them off as if they originated, are
18   associated with, are affiliated with, are sponsored by, are authorized by, and/or are
19   approved by FIGS.
20           50.   As a direct and proximate result of the foregoing acts, FIGS has suffered
21   and will continue to suffer significant injuries in an amount to be determined at trial.
22   FIGS is entitled to recover all damages, including attorneys’ fees, that it has sustained
23   and will sustain, and all gains, profits and advantages obtained by Defendant as a result
24   of its infringing acts.
25           51.   Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
26   there is no adequate remedy at law that can fully compensate FIGS for the harm caused
27   by Defendant’s infringement, which is ongoing. Accordingly, FIGS is entitled to
28   injunctive relief prohibiting Defendant from continuing to infringe the Catarina Scrub

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 1   Top Trade Dress, or any designs identical, substantially indistinguishable, or
 2   confusingly similar thereto.
 3                                THIRD CLAIM FOR RELIEF
 4         Trade Dress Infringement of the Kade Cargo Scrub Pant Trade Dress
 5                                     15 U.S.C. § 1125(a)
 6         52.    FIGS incorporates by reference each and every one of the preceding
 7   paragraphs as though fully set forth herein.
 8         53.    Since its introduction, the FIGS Kade Cargo Scrub Pant has been marketed
 9   featuring the design elements protected under the Kade Cargo Scrub Pant Trade Dress.
10   The Kade Cargo Scrub Pant Trade Dress is unique and inherently distinctive, and
11   comprised of the following elements:
12                a.    A scrub pant with a thick yoga drawstring waistband;
13                b.    The drawstring on the waistband is a contrasting color;
14                c.    Single hip pockets on the lateral and medial leg;
15                d.    A double patch pocket on either the medial or lateral leg of the
16                      pant comprising of a smaller exposed pocket inside a larger
17                      pocket;
18                e.    Notched corners on the bottom of the double patch pocket;
19                f.    Double needle topstich on the outer seams; and
20                g.    Slits on the lateral and medial outer seams.
21         54.    The Kade Cargo Scrub Pant Trade Dress itself, which is a composite of the
22   above-referenced features, is non-functional, visually distinctive and unique in the scrub
23   wear industry. Indeed, the USPTO issued a design patent, U.S. Pat. No. D950,890, for
24   the Kade Cargo Scrub Pant. Examples of its distinctive appearance are shown in the
25   photographs below:
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10         55.    The design of the Kade Cargo Scrub Pant Trade Dress is neither essential
11   to its use or purpose, nor does it affect the cost or quality of the top. There are numerous
12   other designs available that are equally feasible and efficient, none of which necessitate
13   copying or imitating the Kade Cargo Scrub Pant Trade Dress. The combination of
14   features comprising the Kade Cargo Scrub Pant Trade Dress as a whole provides no
15   cost advantages to the manufacturer or utilitarian advantages to the consumer. These
16   features, in combination, serve only to render the FIGS Kade Cargo Scrub Pant, the
17   embodiment of the Kade Cargo Scrub Pant Trade Dress, as a distinct product originating
18   solely from FIGS.
19         56.    The FIGS Kade Cargo Scrub Pant, the embodiment of the Kade Cargo
20   Scrub Pant Trade Dress, is well-recognized and commercially successful, having been
21   featured in many of FIGS’ advertising and promotional materials as well as in various
22   trade publications. The FIGS Kade Cargo Scrub Pant has received a large volume of
23   unsolicited media attention.
24         57.    FIGS has spent substantial time, effort, and money in designing,
25   developing, advertising, promoting, and marketing the FIGS brand and its line of scrub
26   wear embodying the Kade Cargo Scrub Pant Trade Dress. FIGS spends millions of
27   dollars annually on advertising of FIGS products, including scrub wear embodying the
28   Kade Cargo Scrub Pant Trade Dress.

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 1         58.    Due to its long use, extensive sales, and significant advertising and
 2   promotional activities, the Kade Cargo Scrub Pant Trade Dress has achieved
 3   widespread acceptance and recognition among the consuming public and trade
 4   throughout the United States. Indeed, FIGS has sold millions of dollars’ worth of the
 5   FIGS Kade Cargo Scrub Pant, the embodiment of the Kade Cargo Scrub Pant Trade
 6   Dress. Accordingly, the Kade Cargo Scrub Pant Trade Dress has achieved a high degree
 7   of consumer recognition and secondary meaning, which serves to identify FIGS as the
 8   exclusive source of footwear featuring said trade dress.
 9         59.    Upon information and belief, Defendant is a competitor of FIGS and
10   Defendant introduced the Accused Products, including the Lago brand Paulina and
11   Trillium scrub pants, into the stream of commerce in an effort to exploit FIGS’ goodwill
12   and the reputation of the FIGS Kade Cargo Scrub Pant.
13         60.    The Accused Products, including the Lago brand Paulina and Trillium
14   scrub pants, manufactured, imported, distributed, advertised, offered for sale, and/or
15   sold by Defendant bears designs identical, substantially indistinguishable, or
16   confusingly similar to the Kade Cargo Scrub Pant Trade Dress, causing a likelihood of
17   confusion as to the source, sponsorship or approval by FIGS of the Accused Products,
18   including the Lago brand Paulina and Trillium scrub pants.
19         61.    Defendant’s use of the Kade Cargo Scrub Pant Trade Dress is without
20   FIGS’ permission or authorization, and in total disregard of FIGS’ rights to control its
21   intellectual property. There are numerous other designs in the scrub wear industry, none
22   of which necessitate copying or imitating the Kade Cargo Scrub Pant Trade Dress.
23         62.    Defendant’s use of the Kade Cargo Scrub Pant Trade Dress is likely to lead
24   to and result in confusion, mistake, or deception, and is likely to cause the public to
25   believe that Accused Products, including the Lago brand Paulina and Trillium scrub
26   pants, are produced, sponsored, authorized, or licensed by or are otherwise connected
27   or affiliated with FIGS.
28         63.    Given the widespread popularity and recognition of the FIGS line of

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 1   products and the Kade Cargo Scrub Pant Trade Dress, FIGS avers and hereon alleges
 2   that Defendant had knowledge of FIGS’ rights to the Kade Cargo Scrub Pant Trade
 3   Dress and has intentionally utilized the Kade Cargo Scrub Pant Trade Dress on its own
 4   product for Defendant’s own benefit and/or in an effort to pass them off as if they
 5   originated, are associated with, are affiliated with, are sponsored by, are authorized by,
 6   and/or are approved by FIGS.
 7          64.     As a direct and proximate result of the foregoing acts, FIGS has suffered
 8   and will continue to suffer significant injuries in an amount to be determined at trial.
 9   FIGS is entitled to recover all damages, including attorneys’ fees, that it has sustained
10   and will sustain, and all gains, profits and advantages obtained by Defendant as a result
11   of its infringing acts.
12          65.     Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
13   there is no adequate remedy at law that can fully compensate FIGS for the harm caused
14   by Defendant’s infringement, which is ongoing. Accordingly, FIGS is entitled to
15   injunctive relief prohibiting Defendant from continuing to infringe the Kade Cargo
16   Scrub Pant Trade Dress, or any designs identical, substantially indistinguishable, or
17   confusingly similar thereto.
18                              FOURTH CLAIM FOR RELIEF
19                Trade Dress Infringement of the Casma Scrub Top Trade Dress
20                               Under California Common Law
21          66.     FIGS incorporates by reference each and every one of the preceding
22   paragraphs as though fully set forth herein.
23          67.     Defendant’s infringement of the Casma Scrub Top Trade Dress also
24   constitutes trade dress infringement under common law of the state of California.
25          68.     The Accused Products manufactured, imported, distributed, advertised,
26   offered for sale, and/or sold by Defendant bears confusingly similar reproductions of
27   the Casma Scrub Top Trade Dress such as to cause a likelihood of confusion as to the
28   source, sponsorship or approval by FIGS of the Accused Product.

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 1         69.    Defendant’s unauthorized use of the Casma Scrub Top Trade Dress has
 2   caused and is likely to cause confusion as to the source of Accused Products among
 3   consumers.
 4         70.    As a direct and proximate result of the foregoing acts, FIGS has suffered
 5   and will continue to suffer significant injuries in an amount to be determined at trial.
 6   FIGS is entitled to recover all damages, including attorneys’ fees, that it has sustained
 7   on account of Defendant’s infringement, and all gains, profits and advantages obtained
 8   by Defendant as a result of its unlawful acts.
 9         71.    Defendant’s unlawful acts were willful, deliberate, and intended to cause
10   confusion among the public, taken in reckless disregard of FIGS’ rights. As such, an
11   award of exemplary and punitive damages is necessary in an amount sufficient to deter
12   similar misconduct in the future.
13         72.    Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
14   there is no adequate remedy at law that can fully compensate FIGS for the damages
15   caused by Defendant’s infringement, which is ongoing. Accordingly, FIGS is entitled
16   to injunctive relief prohibiting Defendant from continuing to infringe the Casma Scrub
17   Top Trade Dress, or any designs confusingly similar thereto.
18                               FIFTH CLAIM FOR RELIEF
19           Trade Dress Infringement of the Catarina Scrub Top Trade Dress
20                                  California Common Law
21         73.    FIGS incorporates by reference each and every one of the preceding
22   paragraphs as though fully set forth herein.
23         74.    Defendant’s infringement of the Catarina Scrub Top Trade Dress also
24   constitutes trade dress infringement under common law of the state of California.
25         75.    The Accused Products manufactured, imported, distributed, advertised,
26   offered for sale, and/or sold by Defendant bears confusingly similar reproductions of
27   the Catarina Scrub Top Trade Dress such as to cause a likelihood of confusion as to the
28   source, sponsorship or approval by FIGS of the Accused Product.

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 1         76.    Defendant’s unauthorized use of the Catarina Scrub Top Trade Dress has
 2   caused and is likely to cause confusion as to the source of Accused Products among
 3   consumers.
 4         77.    As a direct and proximate result of the foregoing acts, FIGS has suffered
 5   and will continue to suffer significant injuries in an amount to be determined at trial.
 6   FIGS is entitled to recover all damages, including attorneys’ fees, that it has sustained
 7   on account of Defendant’s infringement, and all gains, profits and advantages obtained
 8   by Defendant as a result of its unlawful acts.
 9         78.    Defendant’s unlawful acts were willful, deliberate, and intended to cause
10   confusion among the public, taken in reckless disregard of FIGS’ rights. As such, an
11   award of exemplary and punitive damages is necessary in an amount sufficient to deter
12   similar misconduct in the future.
13         79.    Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
14   there is no adequate remedy at law that can fully compensate FIGS for the damages
15   caused by Defendant’s infringement, which is ongoing. Accordingly, FIGS is entitled
16   to injunctive relief prohibiting Defendant from continuing to infringe the Catarina Scrub
17   Top Trade Dress, or any designs confusingly similar thereto.
18                               SIXTH CLAIM FOR RELIEF
19         Trade Dress Infringement of the Kade Cargo Scrub Pant Trade Dress
20                                  California Common Law
21         80.    FIGS incorporates by reference each and every one of the preceding
22   paragraphs as though fully set forth herein.
23         81.    Defendant’s infringement of the Kade Cargo Scrub Pant Trade Dress also
24   constitutes trade dress infringement under common law of the state of California.
25         82.    The Accused Products manufactured, imported, distributed, advertised,
26   offered for sale, and/or sold by Defendant bears confusingly similar reproductions of
27   the Kade Cargo Scrub Pant Trade Dress such as to cause a likelihood of confusion as to
28   the source, sponsorship or approval by FIGS of the Accused Product.

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 1         83.    Defendant’s unauthorized use of the Kade Cargo Scrub Pant Trade Dress
 2   has caused and is likely to cause confusion as to the source of Accused Products among
 3   consumers.
 4         84.    As a direct and proximate result of the foregoing acts, FIGS has suffered
 5   and will continue to suffer significant injuries in an amount to be determined at trial.
 6   FIGS is entitled to recover all damages, including attorneys’ fees, that it has sustained
 7   on account of Defendant’s infringement, and all gains, profits and advantages obtained
 8   by Defendant as a result of its unlawful acts.
 9         85.    Defendant’s unlawful acts were willful, deliberate, and intended to cause
10   confusion among the public, taken in reckless disregard of FIGS’ rights. As such, an
11   award of exemplary and punitive damages is necessary in an amount sufficient to deter
12   similar misconduct in the future.
13         86.    Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
14   there is no adequate remedy at law that can fully compensate FIGS for the damages
15   caused by Defendant’s infringement, which is ongoing. Accordingly, FIGS is entitled
16   to injunctive relief prohibiting Defendant from continuing to infringe the Kade Cargo
17   Scrub Pant Trade Dress, or any designs confusingly similar thereto.
18                             SEVENTH CLAIM FOR RELIEF
19      (Unfair Competition in Violation of Cal. Bus. & Prof. Code, § 17200 et. seq.)
20         87.    FIGS incorporates by reference each and every one of the preceding
21   paragraphs as though fully set forth herein.
22         88.    Defendant’s misappropriation and unauthorized use of the Casma Scrub
23   Top Trade Dress to promote the Accused Products is likely to confuse or mislead
24   consumers into believing that such products are authorized, licensed, affiliated,
25   sponsored, and/or approved by FIGS, constituting deceptive, unfair, and fraudulent
26   business practices and unfair competition in violation of the California Unfair Business
27   Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq.
28         89.    Upon information and belief, Defendant’s deceptive, unfair, and

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 1   fraudulent business practices were willfully undertaken with full knowledge of the
 2   Casma Scrub Top Trade Dress and with the intent to misappropriate FIGS’ goodwill
 3   and reputation established in the FIGS Casma Scrub Top.
 4         90.    Defendant’s misappropriation and unauthorized use of the Catarina Scrub
 5   Top Trade Dress to promote the Accused Products is likely to confuse or mislead
 6   consumers into believing that such products are authorized, licensed, affiliated,
 7   sponsored, and/or approved by FIGS, constituting deceptive, unfair, and fraudulent
 8   business practices and unfair competition in violation of the California Unfair Business
 9   Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq.
10         91.    Upon information and belief, Defendant’s deceptive, unfair, and
11   fraudulent business practices were willfully undertaken with full knowledge of the
12   Catarina Scrub Top Trade Dress and with the intent to misappropriate FIGS’ goodwill
13   and reputation established in the FIGS Catarina Scrub Top.
14         92.    Defendant’s misappropriation and unauthorized use of the Kade Cargo
15   Scrub Pant Trade Dress to promote the Accused Products is likely to confuse or mislead
16   consumers into believing that such products are authorized, licensed, affiliated,
17   sponsored, and/or approved by FIGS, constituting deceptive, unfair, and fraudulent
18   business practices and unfair competition in violation of the California Unfair Business
19   Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq.
20         93.    Upon information and belief, Defendant’s deceptive, unfair, and
21   fraudulent business practices were willfully undertaken with full knowledge of the Kade
22   Cargo Scrub Pant Trade Dress and with the intent to misappropriate FIGS’ goodwill
23   and reputation established in the FIGS Kade Cargo Scrub Pant.
24         94.    As a direct and proximate result of the foregoing acts, FIGS has suffered
25   and will continue to suffer significant injuries in an amount to be determined at trial.
26         95.    FIGS is entitled to all available relief provided for under the California
27   Unfair Business Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq., including an
28   accounting and disgorgement of all illicit profits that Defendant made on account of its

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 1   deceptive, unfair, and fraudulent business practices.
 2           96.   Furthermore, because FIGS has no adequate remedy at law for Defendant’s
 3   ongoing unlawful conduct, FIGS is entitled to injunctive relief prohibiting Defendant
 4   from unfair competition.
 5                              EIGHTH CLAIM FOR RELIEF
 6                     (Unfair Competition – California Common Law)
 7           97.   FIGS incorporates by reference each and every one of the preceding
 8   paragraphs as though fully set forth herein.
 9           98.   Defendant’s misappropriation and unauthorized use of the Casma Scrub
10   Top Trade Dress to promote the Accused Products also constitutes unfair competition
11   in violation of common law of the state of California.
12           99.   Defendant’s misappropriation and unauthorized use of the Catarina Scrub
13   Top Trade Dress to promote the Accused Products also constitutes unfair competition
14   in violation of common law of the state of California.
15           100. Defendant’s misappropriation and unauthorized use of the Kade Cargo
16   Scrub Pant Trade Dress to promote the Accused Products also constitutes unfair
17   competition in violation of common law of the state of California.
18           101. FIGS has expended substantial time, resources, and effort in creating and
19   developing FIGS scrub wear, including the FIGS Casma Scrub Top, the embodiment
20   of the Casma Scrub Top Trade Dress, which consumers recognize as originating from
21   FIGS.
22           102. FIGS has expended substantial time, resources, and effort in creating and
23   developing FIGS scrub wear, including the FIGS Catarina Scrub Top, the embodiment
24   of the Catarina Scrub Top Trade Dress, which consumers recognize as originating from
25   FIGS.
26           103. FIGS has expended substantial time, resources, and effort in creating and
27   developing FIGS scrub wear, including the FIGS Kade Cargo Scrub Pant, the
28   embodiment of the Kade Cargo Scrub Pant Trade Dress, which consumers recognize as

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 1   originating from FIGS.
 2         104. Upon information and belief, Defendant introduced the Accused Products
 3   into the stream of commerce in order to exploit FIGS’ goodwill and the reputation
 4   established in the FIGS Casma Scrub Top for Defendant’s own pecuniary gain.
 5         105. Upon information and belief, Defendant introduced the Accused Products
 6   into the stream of commerce in order to exploit FIGS’ goodwill and the reputation
 7   established in the FIGS Catarina Scrub Top for Defendant’s own pecuniary gain.
 8         106. Upon information and belief, Defendant introduced the Accused Products
 9   into the stream of commerce in order to exploit FIGS’ goodwill and the reputation
10   established in the FIGS Kade Cargo Scrub Pant for Defendant’s own pecuniary gain.
11         107. Defendant’s unauthorized use of the Casma Scrub Top Trade Dress
12   resulted in Defendant unfairly benefitting from FIGS’ goodwill and the reputation
13   established in the FIGS Casma Scrub Top.
14         108. Defendant’s unauthorized use of the Catarina Scrub Top Trade Dress
15   resulted in Defendant unfairly benefitting from FIGS’ goodwill and the reputation
16   established in the FIGS Catarina Scrub Top.
17         109. Defendant’s unauthorized use of the Kade Cargo Scrub Pant Trade Dress
18   resulted in Defendant unfairly benefitting from FIGS’ goodwill and the reputation
19   established in the FIGS Kade Cargo Scrub Pant.
20         110. Upon information and belief, Defendant’s unlawful acts are willful,
21   deliberate, and intended to cause confusion among the public and taken in reckless
22   disregard of FIGS’ rights. As such, an award of exemplary and punitive damages is
23   necessary in an amount sufficient to deter similar misconduct in the future.
24         111. As a direct and proximate result of the foregoing acts, FIGS has suffered
25   and will continue to suffer significant injuries in an amount to be determined at trial.
26   FIGS is entitled to recover all damages, including attorneys’ fees, that FIGS has
27   sustained on account of Defendant’s unfair competition, and all gains, profits and
28   advantages obtained by Defendant as a result of its unlawful acts. Furthermore, because

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 1   FIGS has no adequate remedy at law for Defendant’s ongoing unlawful conduct, FIGS
 2   is entitled to injunctive relief prohibiting Defendant from unfair competition.
 3                                NINTH CLAIM FOR RELIEF
 4                      (Patent Infringement – U.S. Pat. No. D948,170)
 5         112. FIGS incorporates by reference each and every one of the preceding
 6   paragraphs as though fully set forth herein.
 7         113. In order to protect its valuable brands, FIGS owns a number of patents
 8   covering various styles of scrub wear it markets, including the FIGS Casma Scrub Top
 9   described herein. These patents include U.S. Pat. No D948,170 (the “’170 Patent”)
10   issued on April 12, 2022, a true and correct copy of which is attached hereto as Exhibit
11   A and incorporated herein.
12         114. FIGS is the owner by assignment of all rights, title and interest in and to
13   the ’170 Patent and FIGS has marked substantially all scrub wear embodying the design
14   of the ’170 Patent with “Patent # D948,170”, and/or via virtual patent marking on a
15   product label affixed to the products embodying the design of the ’170 Patent in
16   compliance with 35 U.S.C. § 287.
17         115. Defendant has produced, imported into the U.S., distributed, advertised,
18   marketed, offered for sale, and/or sold within the United States the Accused Products
19   which bear a design substantially similar to the ornamental design of the ’170 Patent,
20   in violation of 35 U.S.C. § 271.
21         116. FIGS has not granted a license or given Defendant any form of permission
22   to the ’170 Patent and Defendant’s infringement of the ’170 Patent is without FIGS’
23   permission or authority and in total disregard of FIGS’ intellectual property rights.
24         117. As a direct and proximate result of the foregoing acts, FIGS has suffered
25   and will continue to suffer significant injuries in an amount to be determined at trial.
26   FIGS is entitled to recover all damages sustained on account of Defendant’s
27   infringement, and all gains, profits and advantages obtained by Defendant under 35
28   U.S.C. §§ 284 and 289.

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 1         118. Additionally, in or around February 2021, FIGS put Defendant on notice
 2   of Defendant’s infringement of the ’170 Patent and of FIGS’ rights, title, and interest in
 3   the ’170 Patent via written correspondence.
 4         119. Upon information and belief, Defendant’s infringing acts were and
 5   continue to be willful, deliberate, and taken in reckless disregard of the ’170 Patent
 6   through Defendant’s continued sale of Accused Products despite having been put on
 7   notice through FIGS’ February 2021 correspondence. Defendant took these actions
 8   knowing that such actions constituted infringement of the ’170 Patent.
 9         120. As Defendant’s willful acts render this an exceptional case, FIGS is
10   entitled to enhanced damages and reasonable attorney fees under 35 U.S.C. § 284.
11         121. Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
12   there is no adequate remedy at law that can fully compensate FIGS for the harm caused
13   by Defendant’s infringement of the ’170 Patent, which is ongoing. Accordingly, FIGS
14   is entitled to injunctive relief under 35 U.S.C. § 283 prohibiting Defendant from
15   continuing to infringe the ’170 Patent.
16                                TENTH CLAIM FOR RELIEF
17                      (Patent Infringement – U.S. Pat. No. D950,195)
18         122. FIGS incorporates by reference each and every one of the preceding
19   paragraphs as though fully set forth herein.
20         123. In order to protect its valuable brands, FIGS owns a number of patents
21   covering various styles of scrub wear it markets, including the FIGS Catarina Scrub
22   Top described herein. These patents include U.S. Pat. No D950,195 (the “’195 Patent”)
23   issued on May 3, 2022, a true and correct copy of which is attached hereto as Exhibit
24   B and incorporated herein.
25         124. FIGS is the owner by assignment of all rights, title and interest in and to
26   the ’195 Patent and FIGS has marked substantially all scrub wear embodying the design
27   of the ’195 Patent with “Patent # D950,195”, and/or via virtual patent marking on a
28   product label affixed to the products embodying the design of the ’195 Patent in

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 1   compliance with 35 U.S.C. § 287.
 2         125. Defendant has produced, imported into the U.S., distributed, advertised,
 3   marketed, offered for sale, and/or sold within the United States the Accused Products
 4   which bear a design substantially similar to the ornamental design of the ’195 Patent,
 5   in violation of 35 U.S.C. § 271.
 6         126. FIGS has not granted a license or given Defendant any form of permission
 7   to the ’195 Patent and Defendant’s infringement of the ’195 Patent is without FIGS’
 8   permission or authority and in total disregard of FIGS’ intellectual property rights.
 9         127. As a direct and proximate result of the foregoing acts, FIGS has suffered
10   and will continue to suffer significant injuries in an amount to be determined at trial.
11   FIGS is entitled to recover all damages sustained on account of Defendant’s
12   infringement, and all gains, profits and advantages obtained by Defendant under 35
13   U.S.C. §§ 284 and 289.
14         128. Additionally, in or around February 2021, FIGS put Defendant on notice
15   of Defendant’s infringement of the ’195 Patent and of FIGS’ rights, title, and interest in
16   the ’195 Patent via written correspondence.
17         129. Upon information and belief, Defendant’s infringing acts were and
18   continue to be willful, deliberate, and taken in reckless disregard of the ’195 Patent
19   through Defendant’s continued sale of Accused Products despite having been put on
20   notice through FIGS February 2021 correspondence. Defendant took these actions
21   knowing that such actions constituted infringement of the ’195 Patent.
22         130. As Defendant’s willful acts render this an exceptional case, FIGS is
23   entitled to enhanced damages and reasonable attorney fees under 35 U.S.C. § 284.
24         131. Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
25   there is no adequate remedy at law that can fully compensate FIGS for the harm caused
26   by Defendant’s infringement of the ’195 Patent, which is ongoing. Accordingly, FIGS
27   is entitled to injunctive relief under 35 U.S.C. § 283 prohibiting Defendant from
28   continuing to infringe the ’195 Patent.

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 1                            ELEVENTH CLAIM FOR RELIEF
 2                      (Patent Infringement – U.S. Pat. No. D950,890)
 3         132. FIGS incorporates by reference each and every one of the preceding
 4   paragraphs as though fully set forth herein.
 5         133. In order to protect its valuable brands, FIGS owns a number of patents
 6   covering various styles of scrub wear it markets, including the FIGS Kade Cargo Scrub
 7   Pant described herein. These patents include U.S. Pat. No D950,890 (the “’890 Patent”)
 8   issued on May 10, 2022, a true and correct copy of which is attached hereto as Exhibit
 9   C and incorporated herein.
10         134. FIGS is the owner by assignment of all rights, title and interest in and to
11   the ’890 Patent and FIGS has marked substantially all scrub wear embodying the design
12   of the ’890 Patent with “Patent # D950,890”, and/or via virtual patent marking on a
13   product label affixed to the products embodying the design of the v Patent in compliance
14   with 35 U.S.C. § 287.
15         135. Defendant has produced, imported into the U.S., distributed, advertised,
16   marketed, offered for sale, and/or sold within the United States the Accused Products
17   which bear a design substantially similar to the ornamental design of the ’890 Patent,
18   in violation of 35 U.S.C. § 271.
19         136. FIGS has not granted a license or given Defendant any form of permission
20   to the ’890 Patent and Defendant’s infringement of the ’890 Patent is without FIGS’
21   permission or authority and in total disregard of FIGS’ intellectual property rights.
22         137. As a direct and proximate result of the foregoing acts, FIGS has suffered
23   and will continue to suffer significant injuries in an amount to be determined at trial.
24   FIGS is entitled to recover all damages sustained on account of Defendant’s
25   infringement, and all gains, profits and advantages obtained by Defendant under 35
26   U.S.C. §§ 284 and 289.
27         138. Additionally, in or around February 2021, FIGS put Defendant on notice
28   of Defendant’s infringement of the ’890 Patent and of FIGS’ rights, title, and interest in

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 1   the ’890 Patent via written correspondence.
 2         139. Upon information and belief, Defendant’s infringing acts were and
 3   continue to be willful, deliberate, and taken in reckless disregard of the ’890 Patent
 4   through Defendant’s continued sale of Accused Products despite having been put on
 5   notice through FIGS February 2021 correspondence. Defendant took these actions
 6   knowing that such actions constituted infringement of the ’890 Patent.
 7         140. As Defendant’s willful acts render this an exceptional case, FIGS is
 8   entitled to enhanced damages and reasonable attorney fees under 35 U.S.C. § 284.
 9         141. Furthermore, unless Defendant’s unlawful acts are enjoined by this Court,
10   there is no adequate remedy at law that can fully compensate FIGS for the harm caused
11   by Defendant’s infringement of the ’890 Patent, which is ongoing. Accordingly, FIGS
12   is entitled to injunctive relief under 35 U.S.C. § 283 prohibiting Defendant from
13   continuing to infringe the ’890 Patent.
14                                  PRAYER FOR RELIEF
15         WHEREFORE, Plaintiff FIGS, Inc. respectfully request that this Court enter
16   judgment in its favor and against Defendant Lago Apparel, LLC and DOES 1-10 as
17   follows:
18    1.   A judgment that Defendant infringed FIGS’ Casma Scrub Top Trade Dress;
19         Catarina Scrub Top Trade Dress; Kade Cargo Scrub Pant Trade Dress; U.S. Pat.
20         No. D948, 170; U.S. Pat. No. D950,195; and U.S. Pat. No. D950,890:
21    2.   An order permanently enjoining and restraining Defendant, their agents,
22         servants, employees, officers, associates, and all persons acting in concert with
23         any of them from infringing FIGS’ intellectual property at issue, including but
24         not limited to infringing acts such as:
25              a. manufacturing, importing, advertising, marketing, promoting, supplying,
26                 distributing, offering for sale, or selling Accused Products or any other
27                 products that bear an identical or confusingly similar design as FIGS’
28                 Casma Scrub Top Trade Dress;

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 1           b. manufacturing, importing, advertising, marketing, promoting, supplying,
 2              distributing, offering for sale, or selling Accused Products or any other
 3              products that bear an identical or confusingly similar design as FIGS’
 4              Catarina Scrub Top Trade Dress;
 5           c. manufacturing, importing, advertising, marketing, promoting, supplying,
 6              distributing, offering for sale, or selling Accused Products or any other
 7              products that bear an identical or confusingly similar design as FIGS’
 8              Kade Cargo Scrub Pant Trade Dress;
 9           d. manufacturing, importing, advertising, marketing, promoting, supplying,
10              distributing, offering for sale, or selling Accused Products or any other
11              products that infringe the ’170 Patent;
12           e. manufacturing, importing, advertising, marketing, promoting, supplying,
13              distributing, offering for sale, or selling Accused Products or any other
14              products that infringe the ’195 Patent;
15           f. manufacturing, importing, advertising, marketing, promoting, supplying,
16              distributing, offering for sale, or selling Accused Products or any other
17              products that infringe the ’890 Patent;
18           g. engaging in any other activity constituting unfair competition with FIGS,
19              or acts and practices that deceive consumers, the public, and/or trade,
20              including without limitation, the use of designations and design elements
21              used or owned by or associated with FIGS; and
22           h. committing any other act which falsely represents or which has the effect
23              of falsely representing goods and services of Defendant is licensed,
24              authorized, offered, produced, sponsored, or in any other way associated
25              with FIGS;
26   3.   An order requiring Defendant to recall from any distributors and retailers and to
27        deliver to FIGS for destruction any Accused Products, including the means of
28        making such products;

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 1   4.   An order requiring Defendant to file with this Court and serve on FIGS within
 2        thirty (30) days after entry of the injunction, a report in writing and under oath
 3        setting forth the manner in which Defendant complied with the injunction;
 4   5.   An order for an accounting of all gains, profits and advantages derived by
 5        Defendant on account of the unlawful acts complained of herein pursuant to 15
 6        U.S.C. § 1117(a) and any other applicable federal statute or California state and
 7        common law;
 8   6.   An award of damages equal to Defendant’s profits and all damages sustained by
 9        FIGS as a result of Defendant’s wrongful acts;
10   7.   An award of damages equal to treble Defendant’s profits or FIGS’ damages,
11        whichever is greater, on account of Defendant’s willful infringement;
12   8.   An award of punitive damages and FIGS’ costs, attorneys’ fees, and interest as
13        allowed under all applicable federal statutes and California state laws; and
14   9.   All other relief that the Court may deem just and proper.
15
16    Dated:      March 15, 2024          BLAKELY LAW GROUP
17
18                                        By:   /s/ Jamie Fountain
                                                Brent H. Blakely
19                                              Jamie Fountain
                                                Attorneys for Plaintiff
20                                              FIGS, Inc.
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                        COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1                               DEMAND FOR JURY TRIAL
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff FIGS,
 3   Inc. hereby demands a trial by jury as to all claims in this Civil Action.
 4
 5    Dated:        March 15, 2024          BLAKELY LAW GROUP
 6
 7                                          By:   /s/ Jamie Fountain
                                                  Brent H. Blakely
 8                                                Jamie Fountain
                                                  Attorneys for Plaintiff
 9                                                FIGS, Inc.
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